                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MISSOURI

                                  CRIMINAL CASE COVER SHEET
 Division of Filing                           Place of Offense                   Matter to be Sealed
   Western                  St. Joseph                                                 Secret Indictment
   Central                  Southern                  Jackson                          Juvenile
                                                      County and
   Southwestern
                                                      elsewhere
Defendant Information
Defendant Name               Gerald L. Ginnings
Alias Name
Birthdate                    01/02/1980

Related Case Information
Superseding Indictment/Information       Yes No if yes, original case number
                                                18-00293-01/12-CR-W-DGK
New Defendant                           Yes  No
Prior Complaint Case Number, if any 18-MJ-00144-JTM
Prior Target Letter Case Number, if any

U.S. Attorney Information
AUSA Bruce Rhoades
Interpreter Needed
   Yes        Language and/or dialect
  No

Location Status
Arrest Date: 9/28/18
  Currently in Federal Custody
  Currently in State Custody                            Writ Required              Yes        No
  Currently on Bond                                     Warrant Required           Yes        No
U.S.C. Citations
Total # of Counts    4
           Index Key/Code/Offense
  Set                                          Description of Offense Charged                Count(s)
                   Level
                                          Conspiracy to Distribute
   1    21:841A=CD.F/6801/4                                                                        1
                                          Methamphetamine
                                          Conspiracy to Commit Money
   2    18:1956-6801.F/6801/4                                                                      2
                                          Laundering
                                          Posess Firearms with Drug
   3    18:924C.F/7830/4                                                                           4
                                          Trafficking
                                          Felon Possess Firearm and
   4    18:922G.F/7830/4                                                                           5
                                          Ammunition
   5    21:853.F/6911/4                   Allegation of Criminal Forfeiture
                                          (May be continued on reverse)


Date   6/4/19                        Signature of AUSA             /s/ Bruce Rhoades


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